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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                   CASE NUMBER:

                                                                              CR No. 11-762-PSG
                                            PLAINTIFF(S)
                            v.
                                                                     NOTICE OF MANUAL FILING
JANETH BREWER                                                              OR LODGING
                                          DEFENDANT(S).

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August 12, 2014                                                /s/ Paul G. Stern
Date                                                         Attorney Name
                                                             United States of America
                                                             Party Represented

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